IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

CHIEFTAIN ROYALTY COMPANY,

Plaintiff,

SM ENERGY COMPANY (including
predecessors, successors and affiliates),

Defendant.

 

Case No. 5:18-C V-01225-D

SM ENERGY COMPANY’S RESPONSE TO PLAINTIFF’S MOTION
FOR PARTIAL SUMMARY JUDGMENT REGARDING LEASE LANGUAGE
AND BRIEF IN SUPPORT
TABLE OF CONTENTS

TABLE OF AUTHORITIES. 0.0.0.0... ecccessccsesesceseeseeeensneesennnesesneeacnseeseneneesnaeseneneenags iil
I. RESPONSE TO STATEMENT OF UNDISPUTED FACTS, .......e:sscsosssssserees 1
Il. SM ENERGY’S STATEMENT OF ADDITIONAL FACTS. .......cesssssssssoneesees 3
Ill. ARGUMENT AND AUTHORITIEG........cccscssssrssssssessessssscsssscesssserressersesssssseees 6
A. CRC FAILED TO ESTABLISH ITS ENTITLEMENT
TO SUMMARY JUDGMENT. .....ccceceeesecesseeseeesneerneenteesnneeesarenseesneeeees 7
B. CRC’S MOTION MUST FAIL. wocceeecceeeseceesseeeeetnrerenneeesneeeneansersneneenaees 8
C. CRC HAS NOT MET ITS SUMMARY
JUDGMENT BURDEN WITH RESPECT TO “FUEL GAS.”....... eee 10
D. CRC’S UNSUPPORTED FUEL USE ARGUMENT
IS BASED ON AN ERRONEOUS READING OF THE LAW. ........+ 10
E. CRC IS NOT ENTITLED TO SUMMARY JUDGMENT
UNDER ITS LEASE THAT EXPRESSLY AUTHORIZES SM
ENERGY TO USE GAS TO BENEFIT THE LEASE. ......csesceeseesesetseeseeeees 13
B CRC’S MOTION IS LEGALLY INSUFFICIENT
BECAUSE CRC DID NOT ADDRESS THE
FACTORS REQUIRED BY MITTELSTAEDT. ....cccccsscctsccseestiensensenaes 16
G. CRC SEEKS AN IMPERMISSIBLE ABSTRACT
RULING, voeccecccccccccccsssecessceceeseesesssecssescessseseeseeaseesnssessnesensnesensagesessesenaes 17
H. CRC’S ARGUMENTS APPARENTLY ARE BASED

ON THE FALSE PREMISE THAT THE GAS MUST BE

DELIVERED OFF THE LEASE TO AN INTERSTATE

TRANSMISSION LINE IN ORDER TO SATISFY THE
MARKETABLE PRODUCT REQUIREMENT. .......cccccscseeereererteerersens 18

(1) Any Duty to Create a Marketable Product at No Cost to
the Lessor Does not Require that SM Energy Deliver the

Gas to a Distant Market at an Interstate Transmission Line. ........ 18

i
(2) | Any Duty to Create a Marketable Product Does Not
Require that the Lessee Process the Gas at No Cost
to the LeSSOL. c..ceesccccssccseseecessneeeesesseceseceseeessseceeeaaeesnneserereeeonsesensaes 20

(3)  Reineke’s Position that No Midstream Fees May be
Charged to the Royalty Owner is Contrary to Oklahoma
LAW, .cccccescccesesccecsssccesseccessceecennneeeesnaeeesseeeceesescesseaseeneesenarecesanerseees 22

I. THE LANGUAGE OF EACH LEASE MUST BE EXAMINED
AND THE RULES OF CONTRACT CONSTRUCTION
APPLIED. coiccccceccccsssscesseesseersscesnsesesueesessessseseseeesseesssseenneeenseeesseaearesneesses 23

J. THE IMPLIED COVENANT TO CREATE A MARKETABLE
PRODUCT. wicceccccceccecssscescecsteccesecesnescsseeseseeeesseecensensaeeseaeeesssenseasseesennesnes 25

(1) The Covenant is Implied as a Matter of Fact, Based Upon
the Intent of the Parties, and Cannot be Implied Where it

is Inconsistent with Express Lease Terms. ........ccscccsesseeseersseeeeees 25

(2) Express Words of Negation are Not Required. 0.00... 27

(3) The Express Terms of CRC’S Oil and Gas Lease. .....ccseceeees 29
CERTIFICATE OF SERVICE. .....ccccccsccssccesreesecssecescessecsseessecssnesseesaresseeesessseesanesseseneenesgs 32

il
TABLE OF AUTHORITIES

CASES

Adams v. Bouchard,

591 F.Supp.2d 1191 (W.D. Okla. 2008) ...cceeceeeeeerenesenetseesesseseneressseessseeneeeeneney 8
Ashland Oil & Refining Co. v. Cities Service Gas Co.,

A62 F.2d 204 (LOth Cir, 1972) eee ececcccsessessseneereesesseetsenereressessensessenseseesseseenserees 26
Atlantic Richfield Co. v. Holbein,

672 S.W.2d 507 (Tex. App. — Dallas 1984, writ ref’d, 1.1.€.) cccecserreneseeeiens 15
Barby v. Cabot Corp.,

465 F.2d 11 (LOth Cir, 1972) cee iccccccscnecseesecnecnecnsenesteteecerserssessnsssssssesseeesesneeees 21
Bice v. Petro-Hunt, L.L.C.,

2009 ND 124, 768 N.W.2d 496 v...cccecccsscccerecesssecssceesseseesesenseeseaseesnessegerseersaneeseeeees 14
Bridenstine v. Kaiser Francis,

Case No. CJ-2001-1 (Okla. Dist. Ct., Texas County) .....ccccecesessensrertereeesensenseneneenes 9
Cactus Petroleum Corp. v. Chesapeake Operating, Inc.,

222 P.3d 12 (Okla. 2009) wee eecssssssesseseeeeteesseseneessteeseeesersseerserssssserseeesseseneesenenes 12
Central States Prod. Corp. v. Jordan,

1939 OK 35, 86 P.2d 790 ..oceeecccessccesecenceccsseeesssesssseeseessseeseseeseaesnsaeseeestaeeseseeoegs 28, 29
Certain Underwriters At Lloyd’s London v. Garmin Intern., Inc.,

T&L F.3d 1226 (10" Cir, 2015) vcecccesessesseeecsenssecsensesesecsesesenesssseenesaseerersenesesneseness 6
Chieftain Royalty Co. v. Dominion Exploration Midcontinent,

Inc., et al., Case No. CIV-11-344-R (W.D. Ok1a.) cocci ceecececeneeeteeseeetectteeeeeeenneeees 6
Chieftain Royalty Co. v. JMA Energy Co.,

Case No. CJ-2012-3 (Okla. Dist. Ct., Roger Mills County) ......ccceseesesescteseneeeerees 6
Chieftain Royalty Co. v. Laredo Petroleum Co.,

Case No. No. CJ-2012-4 (Okla. Dist. Ct., Roger Mills County) ......:ceseeseteteneeetees 6

ili
Chieftain Royalty Co. v. QEP Energy Co.,

Case No. CIV-11-00212-R (W.D. OkK1a.) oe ceceseseesseesseeerecnnesnneeteestessaeeneenesenens 6
Chieftain Royalty Co. v. XTO Energy, Inc.,

Case No. CIV-11-29-KEW (E.D. OkK18.) oc ceeccecceceenscesseenseeeeeeeeneesteeenestaeseaseneseeeeas 6
Craig v. Champlin Petroleum Co., 435 F.2d 933 (Oth Cir, 1971) .eceeeeereereeeee 13
Danciger Oil & Refining Co. of Texas v. Powell, 154 S.W.2d 632 sess 27
Davidson v. America Online, Inc., 337 F.3d 1179 (10" Cir. 2003) cece 7
Davon Drilling Co. v. Ginder, 467 P.2d 470 (Okla. 1970) ....ceseseeeeseerersteneteerseensens 24
Derakshan v. Tizzio, 270 P.3d 215 (Okla. Civ. App. 2011) weecccceccseeesseresteenteeteeteeens 23
Devine v. Ladd Petroleum Corp., 805 F.2d 348 (10th Cir. 1986) ...cccceeeeesererereeees 28
Evers v. General Motors, Inc., 770 F.2d 984 (11! Cir. 1985) c.ecceeesesssseeeteeeeseeeeees 1,2
Foster v. Merit Energy Co, 282 F.R.D. 541 (W.D. Okla. 2012) .ececeeeetetrerenensees 25
Fox v. Cities Service Oil Co., 1948 OK. 224, 200 P.2d 398 wo eeeccceesteeeeenseeeeeenenes 28
Gazin v. Pan American Petroleum Corp., 1961 OK 300,

367 P.2d LOLO vicceccccccccscssscsssccssccesecstceneessecssecessessesesssssessesessesneeseseeeesssenseseaeeneeeneegs 26
Great Western Oil & Gas Co. v. Mitchell, 326 P.2d 794 (Okla. 1958) wc. ceeeseeeeeteeees 24
Hanna Oil & Gas Co. v. Taylor, 759 S.W.2d 563 (Ark. 1988) ...cceceseceeteeenereteees 27, 28
Hayes v. Douglas Dynamics, Inc., 8 F.3d 88 (1% Cir, 1993)...ceeeesereseieneneeereesneneens 1
Herrera v. United Airlines, Inc., 300 F.Supp.3d 1284 (D. Col. 2017) cececcesceeetneeres 8
Hill v. Kaiser Francis, 2012 U.S. Dist. LEXIS 139416

(W.D. Okla. 2012) ccceccesesssscsssssesereesesessescsstenesssseesenererscneneeseenesssseesscsseesreneeessensegs 9
Howell v. Texaco Inc., 2004 OK 92, 112 P.3d 1154 wo eeeseeeteceeeeeeeeeeneereeree 12, 20
Imperial Colliery Co. v. OXY USA Inc., 912 F.2d 696 (4% Cir, 1990) voceseeeeeeeterereees 12
In re Quintus Corp., 397 B.R. 710 (Bankr. D. Del. 2008) ce eesesetereeeereeeteneseneeneetens 1

iv
Indian Territory Illuminating Oil Co. v. Rosamond, 1941 OK 410,

120 P.2d 349 v..cccccccecscccccesssscccccssesssseecesesseceececseeeeesesseessceecensessnesesesssaseeseeenees 24, 25, 26
Johnson v. Jernigan, 1970 OK 180, 475 P.2d 396 wecessesseseseeseenerseteteneerenetensenens 20, 24
Jones v. University of Central Oklahoma, 1995 OK 138, 910 P.2d 987 wissen 26, 27
Krug v. Helmerich & Payne, Inc., 2013 OK 104, 320 P.3d 1012 wesc eeeeeereeeenees 27
Lackey v. Ohio Oil Co., 138 F.2d 449 (10th Cir, 1943)... cceessseseseseeseseeeseeneneetens 13, 14
Ladd Petroleum Corp. v. Oklahoma Tax Comm’n, 1989 OK 5,

TOT P.2d 879 cecccccscscccccccccccecsssessssssscsecsseseeessesesnneeeeeeeeeeeeesesesneeeeaaeeeeeeeeeseeesaanaeeeeeeeens eed 13
Lumoa v. Potter, 351 F.Supp.2d 426 (M.D. N.C. 2004) v.ccccceceseseeetetrerereenessensesenseseenes 8
McCall v. Chesapeake Energy Corp., 164 P.3d 1120

(Okla. Civ. App. 2007) wicecccecsseeeceeteteeseteteteeetensererseersessseseerenessssenenesseneeeenensiey 12
Mercury Inv. Co. v. F.W. Woolworth Co., 1985 OK 38, 706 P.2d 523 wee eeeeeereees 27
Mittelstaedt v. Santa Fe Minerals, Inc., 954 P.2d 1203 (Okla. 1998) .. 11, 16, 17, 18, 19,
veueuseaccacusecececceeeueneansnneceeceeeeceseneesteeeeeeeeeeesseeSSeaeeeeeeeeseDesCEESEEEEGES CC 08 FF OE AEBS 20, 22, 25, 29, 30
Murray v. City of Tahlequah, 312 F.3d 1196, (10% Cir. 2002) voceecceeeeeeeeteeeees 7, 8, 23
Mussellem v. Magnolia Petroleum Co., 1924 OK 297, 231 P. 526 Lc eeeecccceseseceeeeesseees 14
New Dominion v. Parks Family Co., 2008 OK CIV APP 112,

JQ16 P.3d 292 voecccccccccsccccestsnccccessessscceeesssececcseesseeccesecnetecesessaaeseceseseeseecnseeseesensaeeeeesaeees 26
Oklahoma City, Okl. v. Dulick, 318 F.2d 830 (10 Cir, 1963) vcccceeeceeseeesssneeeeeeees 17, 18
Oklahoma Plaza Investors v. Wal-Mart Stores, 155 F.3d 1179

(LOth Cir. 1998) ee eeeseesseeseescesessesereetensneneeesecnensesessessssesesessessssnssenenenseeneneneneeegs 28
Panhandle Cooperative Royalty Co. v. Cunningham,

AOS P.2d 108 (Okla. 1972) v.eeesssessssssssesscsesseesseeeseenseeseneceeeeesseeessersersensesseeessensnees 24
Panola Independent School Dist. No. 4 v. Unit Petroleum Co.,

2012 OK. CIV APP 94, 287 P.3d 1033 vc eecessscessseeeesetsecesseeeesseesestsesenseseeetnneerseees 25
Pitco Production Co. v. Chaparral Energy, Inc., 2003 OK 5,

63 P.3d 541 ccccccccccccccceessccessecscsscesscessecesseeseneeessecsasesseseeseaeesseeeeeseeeeaeeseseeeeeeenesenaeesasenes 24
Presier v. Newkirk, 95 S.Ct. 2330 (1975) c.eessscccsssssscesseccessnteseesaneessneeesseesereneeenaeessensens 17
Rees v. BP America Production Co., 2009 OK CIV APP 37,

QLD P.3d 910 ccccceccccccsseccssscsssscsesscesssceseecsseeeessscesseseseesesseesseeescessseeeessessseesseeeseeeneesses 19
Rogers v. Heston Oil Co., 1984 OK 75, 735 P.2d 542 veces 25, 26
Rolland v. Primesource Staffing, LLC, 457 F.Supp.2d 1221

(D. Col. 2006)... eececeeesesessssseseeserenenensesneneneneseressssseseeseseeneseseneneneegssesieneneseasenees 25, 26
Roye Realty & Developing, Inc. v. Watson, 2 P.3d 320

(Ok1a. 1996) vecccecsessesesssssssssssnesereeeeenensnensiesacssasnsnesesssesesesseesenanenenenensnsnensasersnesesestes 24
Smoot v. Chicago R.I. & P.R. Co., 378 F.2d 879 (1O™ Cir, 1967) cecceeesseseseseeeeeeeeeeetees 6
Sondrol v. Placid Oil Co., 23 F.3d 1341 (8 Cir. 1994) vcccscsceeesseeseseteteeeeeenens 11,12
Socialist Workers Party v. Leahy, 927 F. Supp. 1554 (S.D. Fla. 1996) ......eseeseeees 7
State ex rel. Commissioners of Land Office v. Cities Service Oil Co.,

1957 OK 272, 317 P.2d 722 wicesccscsscsscsesesessesseseteseeceteeseneesessesseseessaesseseseeneesenees 20, 21
Trainor v. Apollo Specialties, Inc., 318 F.3d 976 (10 Cir. 2002) weecseseseseeereeeees 6, 19
Treffv. Galeta, 74 F.3d 191 (10 Cir. 1996) wees veeeeeseseeaecaeeeeeceeseeeees 7
TXO Production Corp .v. State ex rel. Comm’rs of the Land Office,

1994 OK. 131, 903 P.2d 259 ccccececcsscesseeressessseseenseesscesesseeesessecseensessessssneesseseeenneneegs 25
U.S. v. Roberts, 88 F.3d 872 (10™ Cir. 1996) .ccccscsssescseseeceeesenenererenererensssesnsseseseseney 11
U.S. v. Various Slot Machines on Guan, 658 F.2d 697

(9 Cir, L981) ceeceeceeesssseesessseesesesesneneneseeneeeeensansrsnssesssesssssesensassseensasescgnensnsenssescesegees 1
Waechter v. Amoco Production Co., 537 P.2d 228 (Kan. 1975) c.cscecssesseseerenteenertennes 11
Webster v. Offshore Food Service, Inc., A34 F.2d 1191 (5 Cir, 1970) vcecceeeeeens 1
Wilds v. Universal Resources Corp., 1983 OK 35, 662 P.2d 303 scence 28, 29

vi
Wolfe v. Texas Co., 83 F.2d 425 (LOtH Cir, 1936) ..ccececseseesesereeereenseensnseneneenennerenessens 26

Wood v. TXO Production Corp., 1992 OK 100, 854 P.2d 880 .... sees 24, 25, 27, 28
Woodmont, Inc. v. Daniels, 274 F.2d 132 (10 Cir, 1959) vee eeeeescsssseetereeeeteeeeeeens 23
STATUTES
15 O.S. § 155 (1961) ccceeceseecssssseeseseeneeensseesesesensenenessssensssensessasnesessseeeeneneneenneety sessees 24
RULES
Fed. R.Civ.P. S6(C)(1) ccccescccecceccteeeeesessescsscsesecseneeecsenssesaeeessensesessseessssesssenesesseneneenenees 1,3
Fed. R.Civ.P. 56(€) ccccccccscccsesscceeesnsesscesecescessenesseeneesseennesatenessneesscnesseeesecseesaesnessenseeneens 1,3
Fed. R.Evid. 705 ...cccccccccsccssssesscecssessccsscessccenecneesseseecesecescssaseseesseesnagenseseeesneesinessesessenseaneenes 1
MISCELLANEOUS
Black’s Law Dictionary (7! ed. 1999) ececssessesessssseseeessesesneseeneeesesensneenseneatenseneneenen 11
3 E. Kuntz, Law of Oil and Gas § 40.5 at 351 (1989) w.ececeeeesesereeseeeeseneeereneneeeneeey 21

Williams & Meyers, Oil and Gas Law vol. 8 at 829
(Matthew Bender 2003) ....cccccscsesesereteteeeenenersererseensssesseessenesessesensesensensnenenegs 11, 12

3951016.1:730119:00332

vii
SM Energy Company (“SM”) hereby responds to Chieftain Royalty Company’s
(“CRC”) Motion for Partial Summary Judgment Regarding Lease Language (“Motion”).
Because the putative class members’ leases and claims are not before this Court (see
SM’s Motion to Strike CRC’s Motion for Partial Summary Judgment filed this date), SM
submits the following in response to CRC’s individual claim regarding lease language.

I. RESPONSE TO STATEMENT OF “UNDISPUTED FACTS.”

1. SM admits that from September 16, 2005 until March 1, 2015, it operated
and owned working interests in the Duncan Shores 1-1, the Duncan Shores 2-1, and the
Avanzini 3-1H wells, in Coal County, Oklahoma. SM sold these wells to Bravo Natural
Resources on March 1, 2015. SM also admits that CRC has owned royalty interests in
these wells since May 28, 2015. See Ex. 1 submitted herewith, at Bates No. 002078.

2. CRC has failed to carry its burden on summary judgment of establishing
this fact by admissible evidence, or evidence that could be controvertible to admissible
evidence under Fed.R.Civ.P. 56(c)(1) and 56(e), as the affidavits submitted do not

include CRC’s actual lease.'! SM admits that its lease with CRC is the basis of SM’s

 

| See Hayes v. Douglas Dynamics, Inc., 8 F.3d 88, 92 (1% Cir. 1993) (on summary
judgment, rejecting plaintiffs reliance on Fed.R.Evid. 705, which allows an expert to
give opinion testimony, together with supporting reasons, without disclosure of the
underlying facts or data, as “largely inapposite”); Webster v. Offshore Food Service, Inc.,
434 F.2d 1191, 1193 (5" Cir. 1970) (“[T]he grant of a motion for summary judgment is
often inappropriate where the evidence bearing on crucial issues of fact is in the form of
expert testimony.”); U.S. v. Various Slot Machines on Guam, 658 F.2d,697, 700 (9 Cir.
1981) (“[I]n the context of a motion for summary judgment, an expert must back up his
opinion with specific facts....”); In re Quintus Corp., 397 B.R. 710, 719 (Bankr. D. Del.
2008) (“An expert’s opinion based on mere allegations that are not supported by the
obligation to pay royalty on production from the three Coal County wells above.

3. This statement is a contention of law. The facts underlying this contention —
the lease itself — are not in CRC’s summary judgment record. SM disputes CRC’s legal
conclusions as to the effect to be given to the lease instrument. No factual response by
SM is required because CRC has failed to carry its summary judgment burden of proof.
CRC is not seeking summary judgment based upon an alleged failure to disclose
information on check stubs, so insofar as its {| 3 includes that purported fact, it is
immaterial and should not be considered. However, the evidence shows that CRC was
aware of the manner in which royalties were calculated prior to its purchase of the Coal
County lease in 2015. See Ex. 2 submitted herewith. The evidence also shows that a
“TRO” fee was not being deducted from its royalties. See Statement of Additional Facts
(“AF”), infra, at 10. At the very least, this creates an issue of fact which precludes
summary judgment.

4, CRC does not have a lease of the type described in paragraph 4 of CRC’s
Statement of Undisputed Facts (“CS”).

5. See response in § 3, above.

6. CS 4 6 is a contention of law.

7. CRC does not possess a lease of the type set forth in CS 4 7.

 

record... are meaningless.”); Evers v. General Motors, Corp., 770 F.2d 984, 986-87 (1 1%
Cir. 1985) (rejecting expert opinion that “fail[ed] to provide specific facts from the record
to support its conclusory allegations”).

2 In addition, this lawsuit was originally filed in 2011. Through discovery, it is obvious
that CRC became aware of the method by which SM Energy calculated its royalties prior
to acquiring its 2015 lease.
8. CRC has failed to carry its burden on summary judgment of establishing
this fact by admissible evidence under Fed.R.Civ.P. 56(c)(1) and 56(e), as the pooling
order referenced in the affidavits and summary submitted by CRC do not include the
actual pooling order. Moreover, this purported fact is irrelevant to the issue of whether
CRC’s lease, as a matter of law, prohibits all deductions, and is further irrelevant because
the leases and claims of the unnamed putative class members are not currently before this
Court, making CRC’s “royalty pot” theory irrelevant.

9. Denied. Not all royalty owners were paid in the same manner. See
Deposition transcript of Kris L. Terry (“T. Tr.”) attached hereto as Ex. 3, at 31:9-32:11;
32:23-33:16; 33:17-34:12; 37:2—15: 39:2-13; 46:14-21; 63:1-7; 67:16-24. However, this
purported fact is irrelevant to the issue of whether CRC’s lease, as a matter of law,
prohibits all deductions, and is further irrelevant because the leases and claims of the
unnamed putative class members are not currently before this Court.

10. This purported fact is irrelevant to the issue of whether CRC’s lease, as a
matter of law, prohibits all deductions, and is further irrelevant because the leases and
claims of the unnamed putative class members are not currently before this Court.

Il. SM ENERGY’S STATEMENT OF ADDITIONAL FACTS

1. From September 16, 2005 until March 1, 2015, SM owned working
interests in the Duncan Shores 1-1, the Duncan Shores 2-1, and the Avanzini 3-1H wells,
in Coal County, Oklahoma, in which CRC obtained a royalty interest on May 28, 2015.
Ex. 1 at Bates Nos. 002078 and 002088. SM sold these wells to Bravo Natural Resources

on March 1, 2015.
2. CRC’s lease with SM expressly grants SM “the right to use, free of cost,
gas, oil and water produced on said land for its operations thereon, except water from
wells of lessor.” Jd.

3. CRC’s lease requires payment of royalties on gas used off the leased
premises, and all other gas produced from a gas well, of:

1/4 of the gross proceeds received for the gas sold, used off the premises, or in the
manufacture of products therefrom, but in no event more than % of the actual amount
received by the lessee. ...

Td.

4, The gas produced from each of the wells covered by CRC’s lease is sold on
the lease, and thus is marketable at the wellhead. Ex.4, Deposition transcript of Kyle
Pearson (“P. Tr.”), at 71:7-10; 122:24-123:2; Ex. 5 - Ex. 62 attached thereto.

5. SM’s affiliate company, Four Winds (“FW”), purchased gas from the wells
covered by CRC’s lease at the wellhead. Ex. 6, Deposition transcript of David Whitcomb
(SW. Tr.) at 44:10-11; 123:23-124:1; 208:16-21; P. Tr. at 71:7-13. SM made no
deductions to the amounts paid to it by FW. P. Tr. at 121:1-8; W. Tr. at 208:5-21.

6. FW also purchased gas at the wellhead from at least 15 unaffiliated third-
party producers owning wells connected to the Coal County gathering system, under
contract terms identical or similar to SM’s contracts with FW. In some instances, FW’s
contracts with SM were on better terms. See P. Tr. at 79:13-80:3; 142:13-143:10;
Whitcomb Tr. at 45:18-22; 213:19-214:5.

7. SM also tested FW’s contract prices against third-party terms on a semi-

annual base. W. Tr. at 65:13-22; 210:22-211:6; 213:5-214:5; P. Tr. at 132:1-24;134:12-
20; 135:5-15.

8. The prices received by SM from FW were consistently higher than the
prices received by SM in 18 wells in Coal County where SM did not operate the wells but
sold gas pursuant to joint operating agreements. P. Tr. at 143:11-144:6; Ex. 7 - Ex. 64 to
Pearson deposition. In addition, the gathering rate charged by Centerpoint to FW for Coal
County wells was reasonable. P. Tr. at 61:1-64.11; Ex.8, Ex. 67 to Pearson Deposition.

9. SM did not use any gas for operations which did not pertain to CRC’s
lease, and so did not receive any proceeds for gas allegedly used from CRC’s well off the
leased premises. T. Tr. at 163:12-14.

10. SM did not deduct any fuel gas fees, “TRO” or gathering fees, or
compression fees from CRC’s royalties. T. Tr. at 29:16-30:23; 67:5-15; 70:1-4; P. Tr. at
—90:16-21; W. Tr. at 36:2-5. In fact, CRC has never received a royalty payment check
from SM for the three wells it currently owns an interest in because SM sold its interests
in the three wells before CRC acquired its royalty interest. T. Tr. at 62:17-21.

11. CRC claims it was not paid for any fuel gas allegedly use and any natural
gas liquids allegedly extracted. To the extent this claim relates to payments made to
CRC’s predecessors in interest, this claim fails since such parties were paid for fuel and
natural gas liquids when they were paid on the Btus in the gas stream when it passed
through the gas meter on the lease. P. Tr. at 140.11-142:12; 147:19-22; W. Tr. at 187:4-
22.

12. CRC is a knowledgeable, sophisticated, and experienced royalty owner, as

evidenced by the fact that CRC has filed several class action lawsuits raising the same or
similar issues as those raised in this case as the class representative of putative classes of
royalty owners.”

13. | CRC was aware of the manner in which SM calculated royalties prior to its
purchase of the Coal County lease in 2015.4 Ex. 2 and footnote 2. Moreover, CRC’s
predecessor in interest, Michael J. Weeks, individually and as trustee, was also aware of
the manner in which SM calculated royalty. T. Tr. at 113:21-114:6; 116:4-117:11; 118:5-
17; 145:16-20; Ex. 9 - Exs. 59.1-59.3 to Terry deposition.

Il. ARGUMENT AND AUTHORITIES

“Summary judgment is appropriate only when ‘there is no genuine dispute as to
any material fact and the movant is entitled to judgment as a matter of law.’” Certain
Underwriters At Lloyd’s London v. Garmin Intern., Inc., 781 F.3d 1226, 1230 co" Cir.
2015). “[T]he relief contemplated under Rule 56 is drastic, and should be applied with
caution to the end that the litigants will have a trial on bona fide factual disputes.” Smoot
v. Chicago R.I. & P.R. Co., 378 F.2d 879, 883 (10" Cir. 1967). “Under the rule no
margin exists for the disposition of factual issues, and it does not serve as a substitute for
trial of the case nor require the parties to dispose of litigation through the use of

affidavits.” Jd. “The moving party bears the ultimate burden of establishing its right to

 

3 See publicly available records in Chieftain Royalty Company v. QEP Energy Company,
No. CIV-11-00212-R (W.D. Okla.); Chieftain Royalty Company v. XTO Energy, Inc., No.
CIV-11-29-KEW (E.D. Okla.); Chieftain Royalty Company v. JMA Energy Company,
No. CJ-2012-3, Roger Mills County, Okla.; Chieftain Royalty Company v. Laredo
Petroleum Company, No. CJ-2012-4, Roger Mills County, Okla.; and Chiefiain Royalty
Company v. Dominion Exploration Midcontinent, Inc., et al., No. CIV-11-344-R (W.D.
Okla.).

4CRC was generally aware of SM’s royalty calculation method as to other wells it owned
at the time as early as 2010. See W. Tr. at 75:22-76:1 and Ex. 2.
summary judgment as a matter of law even when it does not have the ultimate burden of

persuasion at trial.” Trainor v. Apollo Specialties, Inc., 318 F.3d 976, 982 (10 Cir.

299

2002). “The nonmovant is given ‘wide berth to prove a factual controversy exists.
Davidson v. America Online, Inc., 337 F.3d 1179, 1182 (10" Cir. 2003).

A. CRC FAILED TO ESTABLISH ITS ENTITLEMENT TO SUMMARY
JUDGMENT.

To be entitled to summary judgment, the movant must present evidence that is
legally sufficient:
The moving party must demonstrate that the facts underlying all the relevant legal
questions raised by the pleadings or otherwise are not in dispute, or else summary
judgment will be denied, notwithstanding that the non-moving party has introduced
no evidence whatsoever.
Socialist Workers Party v. Leahy, 927 F. Supp. 1554, 1555 (S.D. Fla. 1996).
CRC has the burden to establish that no genuine issue exists as to any material fact.
Only if the movant meet its initial burden of showing the absence of any genuine issue of
fact does the burden shift to the responding party to show that a controversy of fact
exists. In Murray v. City of Tahlequah, 312 F.3d 1196, 1200 (10 Cir. 2002), the Tenth
Circuit stated:
[T]he burden on the nonmovant to respond arises only if the summary judgment
motion is properly ‘supported’ as required by Rule 56(c). Accordingly, summary
judgment is “appropriate under Rule 56(e) only when the moving party has met its

initial burden under Rule 56(c). If the evidence produced in support of the summary
judgment motion does not meet this burden, ‘summary judgment must be denied

 

5 Moreover, even if the burden shifted, SM satisfied it here. “The nonmoving party is not
required to produce evidence in a form that would be admissible at trial, ‘but the content
or substance of the evidence must be admissible.’” Treffv. Galeta, 74 F.3d 191, 195 (10"
Cir. 1996); accord Rolland v. Primesource Staffing, LLC, 457 F.Supp.2d 1221, 1224 (D.
Col. 2006).
even if no opposing evidentiary matter is presented.”
(Emphasis in original). CRC has not met its burden.

Here, the burden does not shift because CRC has not addressed all material facts.
Specifically, CRC has not addressed the applicable royalty clause in its entirety. Further,
CRC has not included any facts underlying the conclusory statement of its expert, Daniel
Reineke, that SM deducts or charges fees; nor has CRC included any facts addressing the
marketability of the gas prior to any purported deduction of fees or even identified what
specific post-production costs CRC alleges SM took related to its specific lease.° The
conclusory statements in the Affidavit of CRC’s’ expert, Mr. Reineke’, are insufficient to
support summary judgment because they are not supported by any specific facts or
evidence tied to a specific well and lease. See footnote 1, supra.

B. CRC’S MOTION MUST FAIL.

The Oklahoma Supreme Court has rejected the notion that summary judgment is

appropriate in the very case upon which CRC relies.

 

‘In fact, CRC has never received a royalty check from SM for the three wells it currently
owns an interest in. See AF No. 10.

7 Because CRC does not reference specific paragraphs from Mr. Reineke’s affidavit or
any other affidavit, it is impossible for SM to know what paragraphs or documents
referenced therein CRC is relying upon. However, there are numerous references in those
affidavits to documents which are third-party documents, for example, CRC’s Exs. 6, 9,
11-23, 31, 33-37, 42, 44, 48, and 63.6, 17, and summaries which are not endorsed by any
witness, including CRC’s Exs. 38 and 40. None of these documents are authenticated.
Therefore, they are inadmissible hearsay and cannot be considered. Adams v. Bouchard,
§91 F.Supp.2d 1191, 1203-04 (W.D. Okla. 2008); Lumoa v. Potter, 351 F.Supp.2d 426,
430, 432 (M.D. N.C. 2004) (rejecting document summarizing statements and testimony
from other witnesses and other exhibits); Herrera v. United Airlines, Inc., 300 F.Supp.3d
1284, 1295 (D. Col. 2017) (inadmissible hearsay may not be relied upon at the summary
judgment stage).
CRC seeks an adjudication of issues surrounding an oil and gas lease on summary
judgment. In support, CRC attaches an order entered in the Pummill case after a three
day bench trial (CRC’s Ex. 43). What CRC does not disclose is that these same lawyers
tried to have lease language adjudicated on summary judgment in the Pummill case and
that approach was flatly rejected by the Oklahoma Supreme Court

On August 6, 2012, the district judge in the Pummill case granted summary
judgment to the plaintiffs on lease language. See Opinion submitted herewith as Ex. 10.
The court held that certain language in oil and gas leases did not negate the implied
covenant to market. Jd. at 8. On August 24, 2012, the district judge in the Pummill case
granted summary judgment to the plaintiffs on the issue of fuel gas. See Opinion
submitted herewith as Ex. 11. The court held that royalty must be paid on fuel gas
consumed off the lease. Jd. at 11.

On appeal, the Oklahoma Supreme Court reversed the grant of summary judgment
in both orders, finding that factual issues precluded summary judgment. See Opinion
submitted herewith as Ex. 12. The case was remanded and eventually decided after an
extensive bench trial. The Oklahoma Supreme Court has therefore ruled that the same
issues which CRC seeks to adjudicate in its Motion are not appropriate for summary

judgment.®

 

® CRC also relies upon an unauthenticated jury instruction allegedly given in Bridenstine
y. Kaiser Francis, Case No. CJ-2001-1, District Court of Texas County (CRC’s Ex. 63),
and an opinion in Hill v. Kaiser Francis, 2012 U.S. Dist. LEXIS 139416 (W.D. Okla.
2012). Motion at 24-25. However, Bridenstine did not consider the jury instruction CRC
claims it endorsed, because the operator did not elect to challenge that instruction — rather
the opinion states that the operator challenged the instruction defining the implied
There are substantial fact issues as set forth below, related to the adjudication
sought by CRC. Those fact issues preclude summary judgment.

C. CRC HAS NOT MET ITS SUMMARY JUDGMENT BURDEN
WITH RESPECT TO “FUEL GAS.”

CRC’s Statement of Facts does not establish that CRC’s lease contains a “Fuel
Gas” clause, or that there was ever any gas “used” off the lease. Other than portions of
quotations purportedly taken from leases, CRC does not cite a single fact about the gas
purportedly “used,” its condition, its sale, or its “use” for any purpose on or off the lease.
For these reasons alone, CRC’s Motion should be denied with respect to any “Fuel Gas”
claims.

Moreover, none of the so-called “Fuel Gas” clauses purportedly quoted in CRC’s
Ex. 28.2 (which allegedly includes CRC’s lease) so much as mention fuel. For example,
the lease language requiring royalty to be paid on “gas sold, used off the premises, or in
the manufacture of products therefrom” (CRC Ex. 28.2 at 1) does not mention gas used
as fuel and there is no evidence in the record to support any inference or contention. As
the moving party, CRC is not entitled to inferences from undisputed facts, let alone
inferences from an absence of facts created by its own failure to meet its summary
judgment burden. There is simply no basis for the Court to conclude that the quoted
language has anything to do with fuel.

D. CRC’S UNSUPPORTED FUEL USE ARGUMENT IS BASED °
ON AN ERRONEOUS READING OF THE LAW.

 

covenant to market, (Ex. 13 at 915), which is not the same as the instruction provided to
this Court, which concerns “Determining Whether Express Lease Provisions Apply.”

10
CRC asserts that gas is used to power compressors in the gathering system and at
the gas plant to create a marketable product. Motion at 6. CRC does not cite any
precedential authority to support this position or include any numbered fact in its
Statement of Undisputed facts or evidence that the gas so used was necessary to create a
marketable product. Instead, CRC relies solely upon its view that such costs are always
required to make a marketable product as a matter of law, and thus, are not deductible.
CRC’s argument is contrary to Mittelstaedt v. Santa Fe Minerals, 954 P.2d 1203, 1209
(Okla. 1998), as will be discussed in more detail below.

CRC’s lease requires payment of royalties on gas used off the leased premises, and
all other gas produced from a gas well, of

“1/4 of the gross proceeds received for the gas sold, used off the premises, or in the

manufacture of products therefrom, but in no event more than the actual amount

received by the lessee... .”
AF No. 3. SM did not receive any proceeds for the gas used off the leased premises. Jd.
at No. 9. The ordinary meaning of “proceeds” refers to the amounts obtained from an
actual sale. The term “proceeds” is generally defined by Black’s Law Dictionary (7" ed.
1999) as “the amount of money received from a sale.” (Emphasis added). See US. v.
Roberts, 88 F.3d 872, 877 (10% Cir. 1996) (common and ordinary usage of a
statutory term not specifically defined by statute may be obtained by reference to a
dictionary). In the oil and gas context, “proceeds,” likewise, have been defined as “[t]he
money obtained by an actual sale.” Williams & Meyers, Oil and Gas Law vol. 8 at 829
(Matthew Bender 2003) (emphasis added). Oil and gas cases from other jurisdictions

have also defined “proceeds” as requiring an actual sale of oil or gas. See Waechter v.

11
Amoco Production Co., 537 P.2d 228, 249 (Kan. 1975) (“Proceeds ordinarily refer to the
money obtained by an actual sale.”) (emphasis added); Sondrol v. Placid Oil Co., 23
F.3d 1341, 1343 (8 Cir. 1994) (“proceeds” means “the money obtained from an actual
sale”) (emphasis added); Imperial Colliery Co. v. OXY USA Inc., 912 F.2d 696, 700 (4%
Cir. 1990) (under “proceeds” lease, royalty is paid based “upon the amount of money
received by the lessee upon its sale of gas”) (emphasis added). CRC’s lease with this
clause, in plain terms, expresses the parties’ intent that the amount received by SM from
its sale of the gas controls and limits SM Energy’s royalty obligation. SM can have no
additional or greater obligation than to pay royalties based upon the proceeds received by
SM upon its sale of the gas on the lease. Because SM did not receive proceeds for any
gas used as “fuel,” CRC is not entitled to summary judgment with respect to its lease

with SM.’

 

° At pages 8 and 9 of its Motion, CRC argues that SM’s wellhead sales were a “mere
sham,” citing to Howell v. Texaco, Inc., 112 p.3d 1154 Okla. 2004), to argue that,
because SM sells gas to FW pursuant to contracts with FW (an affiliated company), those
contracts must automatically be disregarded and cannot be the basis for calculating
royalty payments in Oklahoma. This is not the law in Oklahoma. First, Howell did not
involve an affiliate sale, but instead involved gas produced pursuant to “market value”
leases, and transferred between two divisions of the same entity - Texaco, Inc. Id. at §[6,
1157. The Howell court characterized the transaction as an “intra-company” sale since it
was between Texaco’s production division and Texaco’s gas plant division. Jd. Here, the
evidence shows that CRC’s lease is a “gross proceeds” leases, not a “market value”
leases. See AF No. 3. Moreover, Howell is not on point for purposes of affiliate sales
because there was no “intra-company” sale in this case.

Second, there is nothing inherently nefarious about affiliate transactions. In Cactus
Petroleum Corp. v. Chesapeake Operating, Inc., 222 P.3d 12 (Okla. 2009), and McCall
v. Chesapeake Energy Corp., 164 P.3d 1120 (Okla. Civ. App. 2007), the issue central to
both cases was whether charges and fees paid between a parent and subsidiary were
subject to challenge by plaintiff working interest owners asserting the impropriety of such
charges and fees. The courts affirmed that transactions between the parent and subsidiary

12
E. CRC IS NOT ENTITLED TO SUMMARY JUDGMENT UNDER
ITS LEASE THAT EXPRESSLY AUTHORIZES SM ENERGY TO USE
GAS TO BENEFIT THE LEASE,

CRC’s’ argument relating to fuel use is also contrary to the clause of the CRC’s
lease that provides that SM Energy has the “right to use, free of cost, gas, oil and water
produced on said land for its operations thereon.” AF No. 1.

In Lackey v. Ohio Oil Co., 138 F.2d 449 (10th Cir. 1943), the court, applying

Oklahoma law, construed royalties clauses providing for royalties to be paid on gas used

 

were not improper per se, because the parent and subsidiary were separate entities, and
the costs at issue were customary and reasonable. 222 P.3d at 19; 164 P.3d at 1126- 27.

There are important and valid reasons for producing companies to form gathering or
midstream service companies to install pipelines, set meters, and provide other services
related to the transportation of gas from the well to points downstream. SM
representatives testified that FW was formed in order to move the gas to locations
downstream in hopes of getting a better price, and to facilitate the marketing of the gas
and the ability to pay the appropriate taxes under Oklahoma Tax Commission
regulations. W. Tr. at 59:18-60:1; 61:8-10: 62:4-63:10; 86:16-87:4; 115:2-17; T. Tr. at
165:22-166:1; 170:5-13. It was also necessary to create a separate marketing entity
because of confidentiality issues present when dealing with third-party purchasers. P. Tr.
at 65:1-17; 66:2-21; 68:2-6; 134:12-135:14.

The evidence shows that FW also purchased gas at the wellhead from at least 15
unaffiliated third-party producers owning wells connected to the Coal County gathering
system, on terms identical or similar to SM’s contracts with FW. See AF No. 6. SM also
tested FW’s contract prices against third-party terms on a semi-annual base. AF No. 7.
This evidence establishes that SM Energy’s contracts with s were fair. See Ladd
Petroleum Corp. v. Oklahoma Tax Comm’n, 1989 OK 5, 767 P.2d 879, 883 (recognizing
that a producing entity may enter into a sales contract with a related purchasing entity
when the terms of the contract are identical to contracts entered into by the purchasing
entity with third-party producers); Craig v. Champlin Petroleum Co., 435 F.2d 933, 938-
39 (10th Cir. 1971) (recognizing that affiliate sales contracts are not ipso facto to be
ignored but must be examined for fairness). To accept CRC’s position would essentially
hold that while a contract between FW and an unaffiliated producer on the same terms
and conditions as a contract between FW and SM could be considered for purposes of
calculating royalty payments, those same exact contract terms must be disregarded as to
contracts between FW and SM, simply because there is an affiliate relationship. This is
neither logical, nor the law. In any event, this disputed fact is another reason why CRC is
not entitled to partial summary judgment.

13
off the leased premises. The court held that under Oklahoma law, “‘the phrase ‘used off
the premises’ . . . means ‘gas appropriated to a purpose foreign to utilization’ for the
development of the lease.” Jd. at 451. The court relied on Mussellem v. Magnolia
Petroleum Co., 1924 OK 297, 9 40, 231 P. 526, 527. The court in Mussellem held, in
connection with a clause allowing the lessee free use of gas on the leased premises, that:
Another clause of the contract provides that the lessee should have free of cost any gas
produced for the development and use “on” the premises. For any gas coming from an
oil well and used “off” the premises, $ 50 per year was to be paid. The words “on” and
“off” are correlatives, and to determine what the latter means might be best reached by
a proper conception of what the word “on,” as used in the lease, conveyed. It had no
other meaning than used in connection with the development of the premises. The
words “off the premises” had no other meaning to the parties than if the gas was
appropriated to a purpose foreign to utilization for the benefit of development of the
property itself. In other words, it did not have particular reference to place where used,

but the purpose and objects of its use, to wit, one foreign to the development of the
premises in question.

Similarly, in Bice v. Petro-Hunt, L.L.C., 2009 ND 124, 768 N.W.2d 496, the court
held that the lessee may use gas off the leased premises in connection with its processing
operations, which benefited the lease. In Bice, an operator of wells in a field processed
the gas produced from the well in the field to remove sulfide and liquid hydrocarbons and
then sold the residue gas and other plant products at or downstream of the tailgate of the
processing plant. Royalty owners brought a class action, alleging, among other claims,
that the lessee did not have the right to use of residue gas off of the leased premises. The
North Dakota Supreme Court affirmed the trial court’s grant of summary judgment in
favor of the lessee, Petro-Hunt, including the trial court’s determination that Petro-Hunt
“could use residue gas off of the leased premises without paying royalty on that gas.” /d.,

768 N.W.2d at 502. In reaching that result, the court construed “free use” clauses that

14
provided:

The leases state either the lessees “shall have the right to use, free of cost,
gas, oil, and water produced on said land for its operation thereon” or the
lessees “shall have free use of oil, gas and water from said land . . . for all
its operations hereunder.”

Id. at 503.
Petro-Hunt took residue gas already processed at the plant and used it as fuel at
“the central tank batteries to heat, treat, and separate the oil, gas and water into separate
streams.” Jd. The plaintiff royalty class asserted that the leases’ “free use” clause only
allowed the lessee to use gas free of cost if it used the gas on the leased premises. The
court rejected this contention, reasoning as follows:
Interpreting the “free use” clause to only allow Petro-Hunt to use residue gas on the
leased premises could lead to an absurd result because it would require lessors who
have a central tank battery on their property to bear the entire burden of the “free use”
clause, notwithstanding benefits conferred on the other lessors. The record
demonstrates the residue gas is used in furtherance of overall lease operations because
it is used to fuel equipment which separates the oil, gas and water into separate
streams, thereby allowing the Little Knife Gas Plant to process the gas into a
marketable product and to recover other products sold at the plant tailgate. Since the
residue gas is used in furtherance of the leased operations, we conclude the district

court did not err in determining the “free use” clause allowed Petro-Hunt to use the
residue gas off of the leased premises to fuel the central tank batteries.

Id. at 504. See also Atlantic Richfield Co. v. Holbein, 672 S.W.2d 507 (Tex. App. —
Dallas 1984, writ ref’d, n.r.e.) (court held that under “free use” clause, the lessee was not
required to pay royalties on fuel gas used to operate a compressor facility that
compressed gas produced from the leased premises and from other lands).

Under the above case law, the “free use” clause authorizes SM to use gas

produced from a lease that furthers operations of the lease, whether or not the gas is used

15
on or off the leased premises. As held in Bice, it would be wasteful and more costly to a
lessor if a lessee was required to place a compressor or a processing plant on each lease
in order to fall within the “free use” clause.

F. CRC’S MOTION IS LEGALLY INSUFFICIENT BECAUSE CRC DID
NOT ADDRESS THE FACTORS REQUIRED BY MITTELSTAEDT.

CRC seeks a ruling from this Court that SM, under its lease with CRC, is not
entitled to deduct “Midstream Service Fees” from CRC’s royalties. Motion at 2.
However, CRC has not addressed all of the factors required to make such a
determination. Those factors are clearly set forth in Mittelstaedt v. Santa Fe Minerals,
Inc., 954 P.2d 1203, 1209 (Okla. 1998). Under Mittelstaedt, when the implied duty to
create a marketable product at no cost to the lessee is present, post-production costs “may
or may not be allocated, based upon the nature of the cost as it relates to the duties of the
lessee created by the express language of the lease, the implied covenants, and custom
and usage in the industry.” Jd.’ Here, CRC did not set forth “the nature of the costs,”
“the express language of the lease,” or the “custom and usage in the industry.” Because
CRC does not address the nature of any specific cost as it relates to SM’s duties created
by the leases, the implied covenants, and custom and usage, CRC is not entitled to
summary judgment.

With respect to express language of its lease, CRC relies solely on a few words or
a single phrase excerpted from CRC’s lease as supporting its request for a determination

that costs may not be deducted from royalties. Whether or not costs may be deducted

 

10 The Court further stated that “[g]enerally, custom and usage in the industry are used in
determining the scope of duties created by the lease.” Jd. at | 20, 954 P.2d at 1208.

16
from royalties cannot be determined based on a few words excerpted from a royalty
clause of an oil and gas lease under Mittelstaedt.

Moreover, the sole fact relating to the purported deduction of costs from royalties
stated by CRC in its CS is that SM allegedly charges royalty owners for services
provided by midstream companies in gathering, compression, dehydration, treating, and
processing gas produced from the wells in which CRC owns royalty interests. CS at 44.
CRC does not discuss the nature of such costs or the circumstances under which the costs
are incurred, as required by Mittelstaedt. CRC does not include any underlying facts,
supported by the evidence, addressing whether the gas was marketable prior to the
purported imposition of “midstream” fees or even whether SM actually sold the gas at the
well. As stated in Mittelstaedt: “Post-production costs must be examined on an
individual basis to determine if they are within the class of costs shared by a royalty
interest.” 954 P.2d at 1208 (emphasis added). But the evidence here shows that CRC’s
processors in interest were not charged any fuel gas or TRO fee, or a compression fee.
AF No. 10.

G. CRC SEEKS AN IMPERMISSIBLE ABSTRACT RULING.

CRC seeks a ruling that no midstream fees may be deducted from royalties. CRC
seeks this ruling (which is contrary to Oklahoma law) without attempting to show the
lease language that relates to specific wells, how gas from the specific wells is marketed
and where it is sold, or any of the factors set forth in Mittelstaedt. Thus, CRC seeks an
abstract ruling that is unrelated to the actual facts. An abstract ruling is not the proper

subject of summary judgment. “[A] federal court [does not have] the power to render

17
advisory opinions....’” Presier v. Newkirk, 95 S.Ct. 2330, 2334 (1975); accord

Oklahoma City, Okl. v. Dulick, 318 F.2d 830, 831 (10 Cir. 1963) (‘Federal courts have

no power to give advisory opinions or to adjudicate constitutional questions in the

absence of ‘concrete legal issues, presented in actual cases, not abstractions.’”’)

H. CRC’S ARGUMENTS APPARENTLY ARE BASED ON THE FALSE
PREMISE THAT THE GAS MUST BE DELIVERED OFF THE

LEASE TO AN INTERSTATE TRANSMISSION LINE IN ORDER TO
SATISFY THE MARKETABLE PRODUCT REQUIREMENT.

(1) Any Duty to Create a Marketable Product at No Cost to the Lessor Does not
Require that SM Energy Deliver the Gas to a Distant Market at an Interstate
Transmission Line.

CRC asserts that no “midstream fees” may be deducted from royalties because gas
is never in a marketable condition until it is in a condition to be received by a mainline
transmission pipeline.!! As stated above, CRC did not include any facts, supported by
evidence, addressing the marketability of the gas produced from the wells at issue. CRC’s
assertion is based upon the unstated assumption that any and all midstream fees are
incurred to make the gas marketable and cannot be deducted. CRC’s implied assumption,
however, is contrary to Mittelstaedt. All of the costs discussed in Mittelstaedt involved
costs incurred off of the leased premises and before the gas entered the purchaser’s
pipeline and, thus, fall within what CRC calls “midstream fees.” Mittelstaedt, { 3. 954
P.2d at 1205. Yet, the Court in Mittelstaedt, examining a lease that provided that royalties
were to be based upon the gross proceeds received for gas sold, held that the royalty

owners were required to bear their share of the “post-production costs of transporting,

 

In fact, at least one of the wells covered by CRC’s lease was in a condition to be
received by a mainline transmission pipeline. T. Tr. at 223:1-11.

18
blending, compression, and dehydration” under certain circumstances (none of which are
addressed by CRC in its Motion). Mittelstaedt, { 30, 954 P.2d at 1210.'* The Court held
that post-production costs could be deducted under a gross proceeds royalty clause “when
actual royalty revenues increase in proportion to the costs assessed against the royalty
interest, when the costs are associated with transforming an already marketable product
into an enhanced product, and when the lessee meets its burden of showing these facts.”
Id.'3— Mittelstaedt expressly rejected the argument that midstream costs are never
deductible under the implied covenant to market:

The Mittelstaedts argue that when the sale is at a distant market the implied duty of the

lessee under the lease is to pay for all of those costs associated with delivering the gas

at the point of sale, i.e., to get the product to the place of sale in marketable form at the
expense of the lessee. This view is incorrect as to distant markets.

Id. at § 13, 954 P.2d at 1207.

Thus, CRC’s premise that “midstream” services are always rendered to make gas
marketable is false. For that reason alone, CRC’s Motion should be denied.

The gas produced from each of the wells covered by CRC’s lease is sold on the

lease, and thus is marketable at the wellhead. AF at No. 4. However, even where gas is

 

12 See also Rees v. BP America Production Co., 2009 OK CIV APP 37, ¥ 4, 211 P.3d 910,
911 (“We think it sufficient to note that (1) gas produced by the wells in question was
marketable at the wellhead, (2) the costs incurred between the wellhead and the pipeline
tailgate to prepare the gas for introduction into the pipeline are post-production costs, and
(3) the propriety of deducting those costs involves an individualized inquiry of the factors
discussed in Mittelstaedt ...’”) (citations omitted).

13 Even where summary judgment is sought on an issue as to which the opposing party
has the burden of proof, the party moving for summary judgment still must carry its
burden of showing the absence of any genuine issue of fact. See Trainor, 318 F.3d at 982.
SM has produced evidence that the gas at issue here is marketable at the wellhead. AF at No. 4.
Thus, CRC cannot claim there is an “absence of any genuine issue of fact” with regard to this
issue.

19
not sold on the lease, that does not mean that the gas was not marketable at the well. See,
e.g, Mittelstaedt, 4 13, 954 P.2d at 1207 (reaffirming Johnson v. Jernigan, 1970 OK 180,
475 P.2d 396, which allowed the lessee to allocate transportation costs to lessors when
the point of sale is away from the lease when there is no market available at the lease); id.
4 20, 954 P.2d at 1208 (“[t]he lessee has a duty to provide a marketable product available
to market at the wellhead or leased premises’); Howell v. Texaco Inc., 2004 OK 92, § 20,
112 P.3d 1154, 1160 (“royalty owners are entitled only to the value of the gas that is
marketable at the wellhead”). Here, the gas was transported to distant markets in order to
enhance the value of the gas and to receive a better price for the gas, for the benefit of
both SM and CRC. See footnote 6, supra. Moreover, the costs associated with moving
that gas are reasonable. See AF No. 8.

(2) Any Duty to Create a Marketable Product Does Not Require that the Lessee
Process the Gas at No Cost to the Lessor.

Mittelstaedt did not involve processing gas for the removal of natural gas liquids
(“NGLs”) and the sale of NGLs and residue gas. Under Oklahoma law, a lessee is not
required, under the implied covenant to market, to build a processing plant, process the
gas that is produced, and then sell and pay royalties on the value of NGLs and residue
gas. In State ex rel. Commissioners of Land Office v. Cities Service Oil Co., 1957 OK
272, 317 P.2d 722, the Court examined a royalty clause that required the lessee to deliver
or to pay the market value of one-eighth of the casinghead gas produced from the lease.
The plaintiff claimed that it was entitled to the market value of one-eighth of the products

that had been extracted or processed from the casinghead gas, i.e., NGLs and residue gas.

20
The court rejected this contention, holding:
The substance and gist of plaintiff's complaint under the above quoted paragraph, viz.,
that defendant has not paid it 1/8th of the value, or sale price, of the constituents or
products of the casinghead gas, stated no cause of action against defendant, in view of
the fact that defendant's obligation, as to payment for casinghead gas produced under

the lease, could legally extend no further than paying 1/8th of the value of said gas
in its natural form.

Id., § 8, 317 P.2d at 727 (emphasis added).

Similarly, in Barby v. Cabot Corp., 465 F.2d 11 (10th Cir. 1972), the court
construed a variety of royalty clauses, including clauses requiring payment (1) one-eighth
of the proceeds if sold at the well, or if marketed off the leased premises, one-eighth of
the market value at the well; (2) one-eighth at the market price at the well for the gas
sold, used off the premises, or in the manufacture of products therefrom; (3) the market
value at the mouth of the well of one-eighth of the gas sold or used, provided that on gas
sold at the wells, the royalty shall be one-eighth of the amount realized from such sale;
and (4) one-eighth of the proceeds from the sale of the gas, as such. Jd. at n. 1. The court
held that that the royalty owners were entitled only to the value of the unprocessed gas,
i.e., the gas as it was produced on the lease in its natural state.’

The holdings above are consistent with the general principles for construing oil
and gas leases, which are discussed below. As discussed below, implied covenants are a

matter of intent between the parties. It cannot be implied in this case that SM had a duty

 

'4 SM’s position is also supported by Professor Eugene Kuntz, who stated that a lessee is
not required to process gas, without cost to the lessor, under the implied covenant to
create a marketable product. 3 E. Kuntz, Law of Oil and Gas § 40.5 at 351 (1989)
(“There is, however, no reason to impose on the lessee the costs of refining or processing
the product.”).

21
under each oil and gas lease to construct the extensive facilities and plant necessary to
process gas in order to extract NGLs and residue gas. CRC has not demonstrated that the
parties had any intent that products resulting from the manufacturing process should be
the basis for paying royalties, cost-free to the royalty owners. The processing of natural
gas involves a huge undertaking and the installation of extensive facilities. An obligation
of the magnitude argued by CRC would have been expressly stated, not left to
implication. Therefore, CRC is not entitled to summary judgment.

(3) Reineke’s Position that No Midstream Fees May be Charged to the
Royalty Owner is Contrary to Oklahoma Law.

CRC’s expert witness, Daniel Reineke, makes the categorical statement that all
midstream fees are incurred to make the gas marketable. CRC’s Ex. 51 at 22. As shown
above, Mr. Reineke’s statement is contrary to Oklahoma law. Mr. Reineke’s statement is
entirely conclusory and is not based upon an examination of the facts of this case. Mr.
Reineke does not address the wells at issue, the marketing of the gas produced from those
wells, and what, if any, services are performed in connection with the gas produced form
each well. Mr. Reineke’s statement requires no response other than to state that his
conclusion was expressly rejected by Mittelstaedt. Mittelstaedt, {4 13, 26.

Mittelstaedt expressly recognizes that gas may be marketable at the well and
further holds that these costs may be proportionately charged against the lessor when the
gas is delivered to a distant market if the costs are reasonable and incurred to enhance the
value of an already marketable product. It is SM’s position that the gas in this case was

put in a marketable form at the well. However, it is not necessary for SM to present

22
evidence of that fact inasmuch as CRC’s (1) position as to universal non-deductibility of
these costs, (2) failure to recognize that gas may be a marketable at the well, and (3)
failure to present any specific evidence that the gas is not marketable at the well requires
denial of summary judgment. See Murray, 312 F.3d at 1200.

I. THE LANGUAGE OF EACH LEASE MUST BE EXAMINED AND THE
RULES OF CONTRACT CONSTRUCTION APPLIED.

CRC’s argument is that the lessee may not deduct any costs allegedly necessary to
make gas marketable unless the oil and gas lease explicitly specifies the exact costs that
may be deducted and states that such costs may be deducted in order to prepare the gas
for sale. CRC’s argument is contrary to the Oklahoma Supreme Court decisions upon
which they rely. Under Oklahoma law, the language of each lease must be examined in

determining the proper payment of royalties, as discussed below.'°

 

'S Tt should be pointed out that CRC’s argument that oil and gas leases are adhesion
contracts is not supported by fact or law. CRC asserts that the leases are standard form
contracts not subject to negotiation. This is not true. CRC itself points to 81 different
royalty clauses in its exhibits. See CRC’s Ex. 28.1. Moreover, CRC is a knowledgeable,
sophisticated, and experienced royalty investor. AF No. 12. Therefore, it is not plausible
for CRC to assert that the leases are contracts of adhesion, in which it had no say. In
addition, CRC took its lease at issue here after this case was filed, and after it had
knowledge of SM Energy’s royalty payment methods. See AF No. 13. Armed with all its
knowledge, it still chose to purchase the lease at issue, presumably so it could continue to
serve as a class representative, after the sale to Enervest of its prior leases and the
settlement relative thereto eliminated its claims. In no way can it be argued that CRC
“had no say” in the matter. Moreover, because CRC knew of the manner in which SM
calculated royalties prior to acquiring the May 2015 lease SM Energy (see AF No. 13) it
does not have a claim against SM. See Woodmont, Inc. v. Daniels, 274 F.2d 132 140 dom
Cir. 1959) (finding “contractor cannot recover the benefit of his bargain after he learned
of the true facts and contracted prospectively in the face of such knowledge’),
Derakhshan v. Tizzio, 270 P.3d 215, 219 (Okla. Civ. App. 2011) (quoting from “Notes on
Use” to OUJI-Civ. No. 18.11: “If the plaintiff learned of the actual facts before taking
any action in reliance, for example, entering into a contract with another person, then the

23
As explained above, CRC relies on only a few words or a phrase taken out of
context of its royalty clause in asserting that the implied covenant to market has not been
“abrogated.” However, an oil and gas lease is subject to the general rules governing the
construction of contracts, including the rule that the intent of the parties is to be
determined from reading the contract as a whole. Indian Territory Illuminating Oil Co. v.
Rosamond, 1941 OK 410, 4 12, 120 P.2d 349, 353 (“In general the law relating to the
interpretation of other contracts applies to” oil and gas leases.); Roye Realty &
Developing, Inc. v. Watson, 2 P.3d 320, 329 (Okla. 1996); Pitco Production Co. v.
Chaparral Energy, Inc., 2003 OK 5, § 14, 63 P.3d 541, 545-46. As explained in Roye
Realty:

Although oil and gas leases are to be construed against lessee and in favor of lessor,
(citation omitted) the contract must be taken as a whole so as to “give effect to every
part using each clause to help interpret the others and that apply the related rule of
interpretation, 15 O.S. § 155 (1961), that the intention of the parties is to be
ascertained from the writing alone if possible.” Panhandle Cooperative Royalty Co. v.
Cunningham, 495 P.2d 108, 113 (Okla. 1972). Oil and gas leases are to be construed
in accord with reasonable intent of the parties, if ascertainable from the four corners of
the contract. Davon Drilling Company v. Ginder, 467 P.2d 470, 472 (Okla. 1970). A
fundamental precept of contract law in Oklahoma is that the law will not make a better
contract than the parties themselves entered. The judicial function of this Court is to
enforce the contract as it is written. Great Western Oil & Gas Co. v. Mitchell, 326 P.2d
794, 798 (Okla. 1958).

4 33, 2 P.3d at 329.

In Mittelstaedt, the Court made it clear that the language of each lease must be

 

plaintiff's claim must fail, not because of waiver but because of failure to meet the
burden of proof on the issue of reliance”), The fact that CRC does not have any claim
against SM is another reason why CRC is not entitled to partial summary judgment.

24
examined. For example, the Court pointed out that in its prior decisions!® as to what costs
may be borne by royalty owners, “the Court had to fix the rights and duties of the parties
according to the language of the leases and the implied covenants that go with them.”
Mittelstaedt, § 8, 954 P.2d at 1205-1206. The Court further stated that it examines the
language of the lease and: “We use the plain meaning of the terms when doing so.” /d., §
9, 954 P.2d at 1206. The Oklahoma Court of Civil Appeals also determined that the
language of each lease must be examined to determine what costs may be deducted.
Panola Independent School Dist. No. 4 v. Unit Petroleum Co., 2012 OK CIV APP 94, §
20, 287 P.3d 1033 (“Each of these lease types requires a different inquiry in determining
the royalty owners claim for underpayment of royalties based on deduction of post-
production costs.””).!7

J. THE IMPLIED COVENANT TO CREATE A MARKETABLE PRODUCT

(1) The Covenant is Implied as a Matter of Fact, Based Upon the Intent of
the Parties, and Cannot be Implied Where it is Inconsistent with
Express Lease Terms.

The duty to create a marketable product, without cost to the lessor, is a part of the
implied covenant to market. Wood v. TXO Production Corp., 1992 OK 100, § 11, 854
P.2d 880. In Oklahoma, covenants implied in oil and gas leases are implied in fact, not in

law. Rogers v. Heston Oil Co., 1984 OK 75, 735 P.2d 542, 545; Indian Territory

 

'6 Johnson v. Jernigan, 1970 OK 180, 475 P.2d 396; Wood v. TXO Production Corp.,
1992 OK 100, 854 P.2d 880, and ZXO Production Corp .v. State ex rel. Comm’rs of the
Land Office, 1994 OK 131, 903 P.2d 259.

17 As stated by one court: “If anything is clear from the Court’s opinion in Mittelstaedt, it
is that there are few all-embracing rules governing allocation of costs to royalty interests,
at least once the gas has enough pressure behind it to get it off the lease... .” Foster v.
Merit Energy Co, 282 F.R.D. 541, 550 (W.D. Okla. 2012).

25
Illuminating Oil Co. v. Rosamond, 1941 OK 410, 120 P.2d 349, 354. The covenant does
not arise out of public policy but is implied in fact to carry out the intent of the parties.
Id. \n Indian Territory, the Court said:

[I]mplied covenants do not arise out of public policy .... That such covenants are part

of the lease, embodied therein in order to carry out the evident intention of the
contracting parties, seems reasonably well settled.

Indian Territory, § 14, 120 P.2d at 354. See also New Dominion v. Parks Family Co.,
2008 OK CIV APP 112, § 13, 216 P.3d 292, 296 (“Implied covenants arise from the
written lease of the parties, they are not simply created by the Supreme Court as a matter
of universal justice.”); Wolfe v. Texas Co., 83 F.2d 425, 432 (10th Cir. 1936) (“In the
absence of an express provision in an oil and gas lease with respect to marketing the
production, there is an implied duty on the part of the lessee to make diligent efforts to
market the production in order that the lessor may realize on his royalty interest.”).

Thus, the implied covenant “becomes a part of the lease only where its inclusion
in the lease is not inconsistent with other terms of the lease.” Rogers, 735 P.2d at 546.
See also Ashland Oil & Refining Co. v. Cities Service Gas Co., 462 F.2d 204, 213 n. 9
(10th Cir. 1972) (implied covenant to market exists under a lease in the absence of an
express provision negativing such an implication); Gazin v. Pan American Petroleum
Corp., 1961 OK 300, 367 P.2d 1010, syl. 2 (stating that a covenant to market could be
implied “[w]here oil and gas lease does not, in express terms, provide for the marketing
of the product... .”); Jones v. University of Central Oklahoma, 1995 OK 138, 999, 11,
910 P.2d 987 (“[A] contract will not be implied . . . against the express declaration of the

person to be charged. . . . [I]f an express contract between the parties is established, a

26
contract covering the identical subject cannot be implied, because an implied agreement
cannot coexist with the express contract.”).

In Krug v. Helmerich & Payne, Inc., 2013 OK 104, 320 P.3d 1012, the Oklahoma
Supreme Court reaffirmed the rule that implied covenants of oil and gas leases arise from
the intention of the parties as expressed in the language of the lease itself:

"An implied covenant must rest entirely on the presumed intention of the parties as
gathered from the terms as actually expressed in the written instrument itself, and it
must appear that it was so clearly within the contemplation of the parties that they
deemed it unnecessary to express it, and therefore omitted to do so, or it must appear

that it is necessary to infer such a covenant in order to effectuate the full purpose of the
contract as a whole as gathered from the written instrument."

Id., 36 (quoting Danciger Oil & Refining Co. of Texas v. Powell, 154 S.W.2d 632,
635).'8

(2) Express Words of Negation are Not Required.

There is no requirement that the implied covenant be negated by words expressly
stating that the parties disclaim the implied covenant to market. This is demonstrated by
the very case cited by CRC, Wood v. TXO Production Corp., 854 P.2d 880 (Okla. 1992).
Wood involved the issue of whether the lessee had the right to deduct compression costs
that were incurred on the lease and before the gas entered the purchaser’s pipeline. The
Court in Wood did not hold that words expressly dealing with compression costs are the
only words that can indicate that costs of compression may be deducted. In fact, the

Court’s discussion in Wood of Hanna Oil & Gas Co. v. Taylor, 759 S.W.2d 563 (Ark.

 

'8 This rule is not unique to oil and gas leases. It is applicable to other types of leases and
contracts as well. Mercury Inv. Co. v. F.W. Woolworth Co., 1985 OK 38, 706 P.2d 523,
530.

27
1988) is contrary to such an argument. The Court pointed out that in Hanna the court
stated that if the lessee’s intention was to be able to deduct compression costs from
royalties, they could have made a reference to “net proceeds.” 854 P.2d at 881. Thus, the
Court recognized that words expressly addressing compression costs are not necessary
for such costs to be deductible.

The fact that an explicit statement identifying specific types of costs that may be
deducted is not necessary is also shown by other cases discussing negation of implied
covenants under Oklahoma law. For example, although the parties did not expressly
disclaim the lessee’s implied duty to restore the leased premises, the Oklahoma Supreme
Court held that such a duty could not be implied where the oil and gas lease expressly
authorized the lessee to erect structures on the leased premises and to remove all
structures, machinery and equipment upon termination of the lease. Fox v. Cities Service
Oil Co., 1948 OK 224, 200 P.2d 398. Similarly, in Oklahoma Plaza Investors v. Wal-
Mart Stores, 155 F.3d 1179, 1180 (10th Cir. 1998), the court held that a covenant of
continuous use could not be implied where the lease expressly allowed the lessee to
assign or sublease the premises. See also Devine v. Ladd Petroleum Corp., 805 F.2d 348,
350-351 (10th Cir. 1986) (court held that express agreement to drill two additional wells
on leased property precluded any implied covenant to drill any further wells to protect
against drainage or to further develop, stating “the law is clear that express covenants do
control over implied covenants.”); Wilds v. Universal Resources Corp., 1983 OK 35, §
13, 662 P.2d 303, 306 (“The presence of an express provision on drilling the initial well

eliminates the need for the implied covenant relating thereto on the general principle that

28
express lease provisions negate the implication of covenants on the same subject
matter.”); Central States Prod. Corp. v. Jordan, 1939 OK 35, 86 P.2d 790, syl. 1 (“Where
an oil and gas lease contains an express stipulation for delay in development . . . an
implied covenant for development will not be permitted to change the agreement of the
parties.).
(3) The Express Terms of CRC’s Oil and Gas Lease

CRC’s lease provides for royalties on “gas of whatsoever nature or kind (with all
of its constituents) produced and sold or used off the leased premises, or used in the
manufacture of products therefrom, 1/4 of the gross proceeds received .. . but in no
event more than 1/4 of the actual amount received by the lessee.”'!? AF No. 3
(emphasis added). CRC argues that under Mittelstaedt, CRC may not deduct any
“midstream fees” from royalties under “gross proceeds” clauses. CRC’s argument is
contrary to the Oklahoma Supreme Court’s decision in Mittelstaedt and the express terms
of the lease.

In Mittelstaedt, the Court held that a clause providing for royalties based upon the
“sross proceeds” received by the lessee, “when considered by itself, prohibits a lessee
from deducting a proportionate share of transportation, compression, dehydration, and
blending costs when such costs are associated with creating a marketable product.” 954

P.2d at 1205. The Court further held, however, “that the lessor must bear a proportionate

 

'° CRC’s lease illustrates that lease language cannot be read in isolation. Here, royalty
calculated based upon 1/4 of the gross proceeds must then be examined to see if it is
more than “1/4 of the actual amount received” by SM, which could result in a reduction
of the royalties.

29
share of such costs if the lessee can show (1) that the costs enhanced the value of an
already marketable product, (2) that such costs are reasonable, and (3) that actual royalty
revenues increased in proportion with the costs assessed against the nonworking interest.”
Id. The Court further stated:

In Johnson v. Jernigan, 475 P.2d 396 (Okla. 1970) we explained that gross proceeds
“has reference to the value of the gas on the lease property without deducting any of
the expenses involved in developing and marketing the dry gas to this point of
delivery.” Jd. 475 P.2d at 399. Thus, “gross proceeds” does indicate an amount
without deduction from, or charge against, the royalty interest, but only when the point
of sale occurs at the leased premises.

 

 

Id. at 1206 (emphasis added). CRC did not address the circumstances under which costs
could be deducted as held in Mittelstaedt. Therefore, CRC is not entitled to summary
judgment.

WHEREFORE, SM prays that this Court deny CRC’s Motion for all the reasons
stated above, and that SM be awarded its costs, attorneys’ fees and such other and further

relief as the Court deems just and proper.

30
Respectfully submitted,

/s/ J. Kevin Hayes

 

31

J. Kevin Hayes, OBA #4003

Pamela S. Anderson, OBA #11613

HALL, ESTILL, HARDWICK, GABLE,
GOLDEN & NELSON, P.C.

320 South Boston Avenue, Suite 400
Tulsa, OK 74103-3708

Telephone (918) 594-0400

Facsimile (918) 594-0505

ATTORNEYS FOR DEFENDANT

SM ENERGY COMPANY
CERTIFICATE OF SERVICE
I hereby certify that on March 22, 2019, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing and transmittal of Notice
of Electronic Filing to the Following ECF registrants:

Robert N. Barnes
Patranell Lewis
Michael Angelovich
Bradley E. Beckworth
Jeffrey J. Angelovich
Neil Smith

Susan Whatley

Lisa Baldwin

Trey Duck

/s/ J. Kevin Hayes

 

3951531.1:225960:00209
